               Case 2:24-cv-00161-LGD Document 4 Filed 01/09/24 Page 1 of 1 PageID #: 20
AO 440 (Rev. 06/1 2) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                for the
                                                    Eastern District of New York

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                             Plaintifj(s)
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                                 V.                                         Civil Action No. 2:24-cv-00161-LGD
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                            Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address)

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           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

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        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.

                                                                                BRENNA B. MAHONEY
                                                                               CLERK OF COURT


 Date: _ _1/9/2024
           __ __ _ __
                                                                                         Signature o. ierkorDeputy Clerk
